       Case 2:25-cv-00015-MJH           Document 92        Filed 03/18/25         Page 1 of 3



                                                    38TH FLOOR ONE OXFORD CENTRE PITTSBURGH, PA 15219
                                                                           412.263.2000   FAX: 412.263.2001
                                                                                 WWW.PIETRAGALLO.COM
                                                                             DIRECT DIAL NO.: 412.263.1818
                                                                        DIRECT FAX DIAL NO.: 412.263.4200
                                                                                        FILE: CLIFFS-119238
                                                                                E-MAIL: WP@Pietragallo.com




                                         March 18, 2025


VIA CM/ECF

The Honorable Marilyn J. Horan
United States District Court Judge
Joseph F. Weis, Jr. U.S. Courthouse
700 Grant Street, Courtroom 8A
Pittsburgh, PA 15219

       Re:      U. S. Steel Corp. v. Cleveland-Cliffs Inc., No. 2:25-cv-00015 (W.D. Pa.)

Dear Judge Horan:

We write on behalf of Defendants Cleveland-Cliffs Inc. and Lourenco Goncalves (together,
“Cliffs”) in response to Plaintiffs’ March 17, 2025 letter to the Court (Dkt. 91) and another
development from the same day.

First, as Plaintiffs noted in their letter, Plaintiffs have consented to extend the deadlines in the
D.C. Circuit action, U. S. Steel Corp. v. CFIUS, No. 25-1004 (D.C. Cir. 2025), for a second time.
Briefing in that case will now not be completed until April 21, 2025, and argument will not be
heard until mid-May. While these consensual extensions are difficult to square with Plaintiffs’
attempts to create urgency in this case, they are particularly notable given the stated reason for
extending the deadlines, which Plaintiffs did not note in their letter to this Court: “allowing the
government to complete its ongoing discussions with the parties regarding the U.S. Steel and
Nippon Steel transaction with the goal of eliminating the need for [the D.C. Circuit’s] resolution
of the litigation on the merits.” Dkt. 91-1 at 2.




             NEW JERSEY               OHIO             PENNSYLVANIA               WEST VIRGINIA
        Case 2:25-cv-00015-MJH            Document 92        Filed 03/18/25       Page 2 of 3

The Honorable Marilyn J. Horan
March 18, 2025
Page 2


Cliffs is not privy to the contents of these “ongoing discussions.” They may reflect plans for a
new investment transaction between the Plaintiffs, which have been referenced by sources in both
the United States 1 and Japan. 2 Whatever their content, they apparently have the goal and
reasonably likely effect of mooting the D.C. Circuit action. If so, they would undoubtedly impact,
and likely moot, the claims that Plaintiffs have sought to expedite in this action. Cliffs should not
be required to litigate this case on an expedited basis, and the Court should not be required to give
this case priority for judicial resources, when Plaintiffs have abandoned the premise for expedition.

Relatedly, we note that Plaintiffs have insisted in the parties’ discussions about a proposed
protective order that they be allowed to use at least some of the discovery produced in this case in
the D.C. Circuit action. This is contrary to Plaintiffs’ representation to the Court that Plaintiffs did
not “bring this case to get this discovery for the D.C. Circuit,” and that any concerns about using
discovery from this case in another forum can be addressed in a protective order. January 17, 2025
Hearing Tr. at 58; see also id. at 57-58 (Plaintiffs’ promise that “[a]ll [Defendants’] concerns about
sensitivity of these documents . . . can be dealt with in confidentiality orders. It’s something that
we do all the time.”).

Second, Cliffs respectfully requests that the Court take notice of the supplemental authority JSW
Steel (USA) Inc. v. Nucor Corporation, No. 22-20149 (5th Cir. Mar. 17, 2025), a decision handed
down yesterday involving many of the issues and parties currently before the Court. In JSW Steel,
the Fifth Circuit affirmed dismissal of Sherman Act claims against U. S. Steel and others (Cliffs
had also been a defendant, whose dismissal was not appealed). The Fifth Circuit affirmed that
even “lockstep” petitioning activity cannot form the basis for antitrust liability under Noerr-
Pennington, id. at 7-8, and that parallel action that defendants have valid independent bases to
undertake is insufficient to state a claim for conspiracy to violate Sherman Act, id. at 8-10. A copy
of the JSW decision is attached as Exhibit A.



1
   See, e.g., Roll Call, Press Conference: Donald Trump and Shigeru Ishiba of Japan Hold a Press
Event February 7, 2025 (Feb, 7, 2025), https://rollcall.com/factbase/trump/transcript/ donald-
trump-press-conference-shigeru-ishiba-japan-february-7-2025/ (President Trump referencing an
investment by Nippon Steel, rather than an acquisition); Trevor Hunnicutt and Nandita Bose,
Trump says he would not mind if Nippon Steel took minority stake in US Steel, REUTERS (Feb. 14,
2025), https://www.reuters.com/markets/commodities/trump-says-he-wouldnt-mind-if-nippon-
steel-took-minority-stake-us-steel-2025-02-14.
2
   See, e.g., Yoshino Gekka, Three Scenarios Looming for Nippon Steel and US Steel, TOYO
KEIZAI (Feb. 14, 2025), https://toyokeizai.net/articles/-/858554?page=3 (describing “large
investment, not acquisition” as scenario that is “currently the most realistic and is likely to
proceed”); Yoshino Gekka, Protectionist policies that did not improve US Steel's competitiveness,
TOYO KEIZAI (Feb. 14, 2025), https://toyokeizai.net/articles/-/859603?page=3 (“Nippon Steel’s
plan to acquire U.S. Steel” is “now moving in the direction of ‘large-scale investment rather than
acquisition’”).
         Case 2:25-cv-00015-MJH          Document 92       Filed 03/18/25     Page 3 of 3

The Honorable Marilyn J. Horan
March 18, 2025
Page 3


         We thank the Court for its attention to these developments.


                                                     Very truly yours,

                                                     /s/ William Pietragallo, II
                                                       William Pietragallo, II

WPII/leg
#11378014.2


CC:             Andrew J. Rossman, Esq.
                Steig D. Olson, Esq.
                Owen F. Roberts, Esq.
                Mario Gazzola, Esq.

Enclosure:      Opinion (Doc. No. 129-1), JSW Steel (USA) Inc. v. Nucor Corporation, No. 22-
                20149 (5th Cir. Mar. 17, 2025).
